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            EXHIBIT A
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                                                Depositions of Federal Witnesses (CMS/HCFA/OIG) in
                                            In re Pharmaceutical Wholesale Pricing Litigation, MDL 1456

Witness Name          Federal Agency and                   Noticed             Cross Noticed or           Deposition              Defendant Appearances
                      Title/Responsibility                                   Appearances Beyond             Dates
                                                                              Underlying Action
Bailey, Glenda    CMS, Office of Strategic          U.S. ex rel. Ven-A-    Not found on Lexis/Nexis.       3/20/2007   Abbott, Schering-Plough, Schering, Warrick, Dey,
30(b)(6) - CMS    Operations and Regulatory         Care of the Florida    Appearances by multiple                     Roxane, Boehringer Ingelheim, AztraZeneca, Baxter.
                  Affairs – Correspondence          Keys, Inc. v. Abbott   defendants in NY Counties’                  See Exhibit E-1.
                  Management. Handler of            Laboratories, Inc. ,   case, including at least one
                  document subpoena and                                    generic manufacturer
                                                    MDL 1456 (“MDL
                  production requests.                                     defendant.
                                                    Abbott Case”). See
                                                    Exhibit E.
Bassano, Amy      CMS – Director of Practitioner    MDL Abbott Case. See Not found on Lexis/Nexis.         11/7/2007   Abbott, Dey, Roxane, Boehringer Ingelheim, Baxter.
                  Services (2006 - ), Director of   Exhibit F.           Appearances by multiple                       See Exhibit F-1.
                  Ambulatory Services (2005-                             defendants in NY Counties’
                  2006); HCFA, Office of                                 case, including at least one
                  Legislation (1999-2000).                               generic manufacturer
                                                                         defendant.
Berenson, Robert HCFA – Deputy Administrator        MDL Abbott Case        Cross-Notice relates to “ALL   12/18/2007   Schering, Schering-Plough, Warrick, Abbott, Bristol-
                 (2000-2001); HCFA Center for                              CASES IN MDL 1456” in                       Myers Squibb, Dey Inc, Dey LP, Mylan, Roxane,
                 Health plans and Providers –                              which Abbott is named or                    Boehringer Ingelheim. See Exhibit G-1.
                 Director (1998-2001)                                      appeared. See Exhibit G.

Booth, Charles    Director of the Office of Hospital MDL Abbott Case       Cross-Notice relates to “ALL    4/23/07,    Day 1 (4/23/07 ): Schering, Schering-Plough,
                  Policy, Bureau of Policy                                 ACTIONS” in which               10/29/07    Warrick, Baxter, Abbott, Sandoz, AstraZeneca,
                  Development; director of                                 Schering, Schering Plough or                Johnson & Johnson, Bristol-Myers Squibb, Dey Inc,
                  Financial services in the Office of                      Warrick have been named,                    Dey LP, Par, Aventis, Roxane Laboratories,
                  Financial Management for the                             appeared or served. See                     Boehringer Ingelheim, GlaxoSmithKline, Amgen.
                  HCFA                                                     Exhibit H.                                  See Exhibit H-1.
Bowen, Maryann Office of Information Services,      MDL Abbott Case. See Not found on Lexis/Nexis.         6/5/2007    Abbott, Dey, Mylan, Baxter. See Exhibit I-1.
               CMS, management-type                 Exhibit I.           Appearances by multiple
               functions-personnel training,                             defendants in NY Counties’
               administrative functions of                               case, including at least one
               running the facility                                      generic manufacturer
                                                                         defendant.




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                                              Depositions of Federal Witnesses (CMS/HCFA/OIG) in
                                          In re Pharmaceutical Wholesale Pricing Litigation, MDL 1456

Witness Name         Federal Agency and                  Noticed                Cross Noticed or           Deposition              Defendant Appearances
                     Title/Responsibility                                     Appearances Beyond             Dates
                                                                               Underlying Action
Buto, Kathleen   Director - HCFA, Office of       MDL Abbott Case           Cross-Notice relates to “ALL    9/12/07,    Day 1 (9/12/07): Abbott, Sandoz, Johnson &
                 Executive Operations                                       ACTIONS” in which               9/13/07     Johnson, BMS, Dey, Mylan, Roxane, Boehringer-
                                                                            Schering, Schering Plough or                Ingelheim, Aventis, Sanofi Synthelabo, Schering,
                                                                            Warrick have been named,                    Schering-Plough, Warrick, Baxter. See Exhibit J-1.
                                                                            appeared or served. See
                                                                            Exhibit J.                                  Day 2 (9/12/07): same as previous day. See Exhibit
                                                                                                                        J-1.



Bruce, Tamara    Technical Director, CMS, Drug    U.S. ex rel. Ven-A-       Not found on Lexis/Nexis.       11/6/2008   Dey. See Exhibit K.
30(b)(6)         Rebates Operations Division of   Care of the Florida       Appearances by at least one
                 State Systems                    Keys, Inc. v. Dey, Inc.   generic manufacturer
                                                  et al. , MDL 1456         defendant.
                                                  (“MDL Dey Case”).
                                                  See Exhibit K.

Bryant, Joseph   Vital Records Liaison, CMS –     MDL Abbott Case. See      Not found on Lexis/Nexis.      11/15/2007   Abbott, Dey Inc, Dey LP, Roxane, Boehringer
30(b)(6)         Custodian of Records             Exhibit L.                Appearances by multiple                     Ingelheim. See Exhibit L-1.
                                                                            defendants in NY Counties’
                                                                            case, including at least one
                                                                            generic manufacturer
                                                                            defendant.




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                                             Depositions of Federal Witnesses (CMS/HCFA/OIG) in
                                         In re Pharmaceutical Wholesale Pricing Litigation, MDL 1456

Witness Name         Federal Agency and                 Noticed          Cross Noticed or           Deposition              Defendant Appearances
                     Title/Responsibility                              Appearances Beyond             Dates
                                                                        Underlying Action
DeParle, Nancy   Administrator of HCFA 1997-    MDL Abbott Case      Cross-Notice relates to “ALL    5/18/07,    Day 1 (5/18/07): Abbott, Schering-Plough,
Ann              2000                                                ACTIONS” in which               12/5/07     Schering, Warrick, Sandoz, Johnson & Johnson,
                                                                     Schering, Schering Plough or                Dey, Mylan, Roxane, Boehringer Ingelheim,
                                                                     Warrick have been named,                    Aventis, AztraZeneca, Amgen, Baxter. See Exhibit
                                                                     appeared or served. See                     H-2.
                                                                     Exhibit H.
                                                                                                                 Day 2 (12/5/07): Abbott, Schering-Plough,
                                                                                                                 Schering, Warrick, Sandoz, Johnson & Johnson,
                                                                                                                 Dey, Mylan, Roxane, Boehringer Ingelheim,
                                                                                                                 Aventis, AztraZeneca, Amgen, Baxter,
                                                                                                                 GlaxoSmithKline. See Exhibit H-2.


Duzor, Deidre    Director of Quality Systems    MDL Abbott Case      Cross-Notice relates to “ALL    10/30/07,   Day 1 (10/30/07): Abbott, Bristol-Myers Squibb,
                 Management, CMS, Director of                        CASES IN MDL 1456” in            3/26/08    Dey Inc, Dey LP, Mylan, Roxane, Boehringer
                 Pharmacy Division for Medicaid                      which Abbott is named or                    Ingelheim, Schering-Plough, Schering, Warrick,
                 at CMS                                              appeared. See Exhibit M.                    Baxter. See Exhibit M-1.

Gaston, Sue      HCFA-Health Insurance             MDL Abbott Case   Cross-Notice relates to “ALL    1/24/08,    Day 1 (1/24/08): Abbott, Aventis, Sanofi Sythelabo,
                 Specialist, Team lead for dispute                   CASES IN MDL 1456” in           3/19/08     BMS, Dey, Mylan, Boehringer Ingelheim, Roxane,
                 resolution of Medicaid                              which Abbott is named or                    Sandoz, Endo, Ethex, Schering, Schering-Plough,
                                                                     appeared. See Exhibit N.                    Warrick. See Exhibit N-1.

                                                                                                                 Day 2 (3/19/08): Abbott, Aventis, Sanofi Sythelabo,
                                                                                                                 BMS, Dey, Mylan, Boehringer Ingelheim, Roxane,
                                                                                                                 Sandoz, Ethex, Schering, Schering-Plough, Warrick.
                                                                                                                 See Exhibit N-1.




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                                               Depositions of Federal Witnesses (CMS/HCFA/OIG) in
                                           In re Pharmaceutical Wholesale Pricing Litigation, MDL 1456

Witness Name          Federal Agency and                Noticed         Cross Noticed or           Deposition              Defendant Appearances
                      Title/Responsibility                            Appearances Beyond             Dates
                                                                       Underlying Action
Gustafson, Tom    CMS, Deputy Director (2003-     MDL Abbott Case   Cross-Notice relates to “ALL    9/28/07,    Day 1 (9/28/07): Abbott, Sandoz, Bristol-Myers
                  2007); HFCA, Hospital and                         ACTIONS” in which               12/17/07    Squibb, Dey Inc, Dey LP, Mylan, Roxane,
                  Ambulatory Policy Group (1998-                    Schering, Schering Plough or                Boehringer Ingelheim, Aventis and Sanofi
                  2003); HFCA, Office of Research                   Warrick have been named,                    Synthelabo, Schering-Plough, Schering, Warrick,
                  and Demonstrations (1996-1998);                   appeared or served. See                     Baxter. See Exhibit O-1.
                  HFCA, Office of Legislation and                   Exhibit O.
                  Policy (1985-1996)                                                                            Day 2 (12/17/07): Abbott, Bristol-Myers Squibb,
                                                                                                                Dey Inc, Dey LP, Mylan, Roxane, Boehringer
                                                                                                                Ingelheim, Schering-Plough, Schering, Warrick. See
                                                                                                                Exhibit O-1.


Hansford, Cynthia Office of Evaluations and       MDL Abbott Case   Cross-Notice relates to “ALL    3/14/2007   Dey, Pfizer, Johnson & Johnson, Scheirng, Warrick,
                  Inspections, OIG, Department of                   CASES IN MDL 1456” in                       Roxane, Boehringer Ingelheim, BMS, Amgen,
                  Health and Human Services –                       which Abbott is named or                    Baxter, Abbott. See Exhibit P-1.
                  Program Assistant (1994- ),                       appeared. See Exhibit P.
                  Secretary (1991-1993), Clerk
                  Typist (1987-1991)
Hardwick, Claire Centers for Medicaid and State   MDL Abbott Case   Cross-Notice relates to “ALL    6/6/2007    Abbott, Dey, Mylan, Roxane, Boehringer-Ingelheim,
                 Operations, Office of Clinical                     CASES”. See Exhibit Q.                      Baxter. See Exhibit Q-1.
                 Standards and Quality
Hoover, John W. CMS, Divisiol of Financial        MDL Abbott Case   Cross-Notice relates to “ALL   12/18/2007   Abbott, Dey Inc., Dey L.P., Bristol-Myers Squibb,
                 Operation - Technical Director                     CASES IN MDL 1456” in                       Roxane, Boehringer Ingelheim, Schering-Plough,
                 (2004-2007); Grants Specialist                     which Abbott is named or                    Schering, Warrick. See Exhibit R-1.
                 (1977-2003)                                        appeared. See Exhibit R.

Morris, Richard   HCFA Associate Regional         MDL Abbott Case   Cross-Notice relates to “ALL    8/29/2007   8/29/2007: Abbott, GalxoSmithKline, Roxane,
                  Administrator '81-Retirement,                     ACTIONS” in which                           Boehringer Ingelheim, Bristol-Myers Squibb,
                  Responsible for pgm operations-                   Schering, Schering Plough or                Myland, Dey, Sandoz, Barr, Schering, Schering-
                  policy interpretation, state                      Warrick have been named,                    Plough, Warrick, AstraZeneca, Aventis. See Exhibit
                  Medicaid plan approvals                           appeared or served. See                     S-1.
                                                                    Exhibit S.




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                                              Depositions of Federal Witnesses (CMS/HCFA/OIG) in
                                          In re Pharmaceutical Wholesale Pricing Litigation, MDL 1456

Witness Name         Federal Agency and                 Noticed              Cross Noticed or           Deposition              Defendant Appearances
                     Title/Responsibility                                  Appearances Beyond             Dates
                                                                            Underlying Action
Niemann, Robert Bureau of Policy Development, MDL Abbott Case            Cross-Notice relates to “ALL    9/14/07,    Day 1 (9/14/2007): Schering, Schering-Plough,
                Drug payment policy and                                  ACTIONS” in which               10/11/07    Warrick, Abbott, Sandoz, BMS, Dey LP, Dey Inc,
                ambulance payment policy, CMS                            Schering, Schering Plough or                Mylan, Aventis, Roxane, Boehringer-Ingelheim,
                                                                         Warrick have been named,                    Baxter. See Exhibit T-1
                                                                         appeared or served. See
                                                                         Exhibit T.                                  Day 2 (10/11/2007): Roxane, Boehringer Ingelheim,
                                                                                                                     Schering, Schering-Plough, Warrick, Abbott, Baxter,
                                                                                                                     Sandoz, BMS, Aventis, Dey, Mylan. See Exhibit T-
                                                                                                                     1

Parker, Lisa     Office of Strategic Operations of MDL Abbott Case See   Not found on Lexis/Nexis.       6/6/2007    6/6/2007 : Abbott, Dey, Mylan, Roxane, Boehringer
                 Regulatory Affairs, CMS           Exhibit U.            Appearances by multiple                     Ingelheim, Baxter. See Exhibit U-1.
                                                                         defendants in NY Counties’
                                                                         case, including at least one
                                                                         generic manufacturer
                                                                         defendant.
Ragone, Linda    Office of Evaluations and       MDL Abbott Case         Cross-Notice relates to “ALL    4/17/07,    Day 1 (4/17/07): Abbott, Dey, Sandoz, Roxane,
                 Inspections, OIG, US Dept of                            ACTIONS” in which               4/18/07     Boehringer Ingelheim, Warrick, Schering, Schering-
                 Health                                                  Schering, Schering Plough or                Plough, Amgen, Bristol-Myers Squibb, AstaZeneca,
                                                                         Warrick have been named,                    Barr, Baxter. See Exhibit H-3.
                                                                         appeared or served. See
                                                                         Exhibit H.                                  Day 2 (4/18/07): same as previous day. See Exhibit
                                                                                                                     H-3.




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                                              Depositions of Federal Witnesses (CMS/HCFA/OIG) in
                                          In re Pharmaceutical Wholesale Pricing Litigation, MDL 1456

Witness Name          Federal Agency and                 Noticed            Cross Noticed or            Deposition              Defendant Appearances
                      Title/Responsibility                                Appearances Beyond              Dates
                                                                           Underlying Action
Reed, Larry       HCFA Baltimore-Leadership         MDL Abbott Case     Cross-Notice relates to “ALL     9/26/07,    Day 1 (9/26/07): Abbott, Dey Inc, Roxane,
                  Development Program, Branch                           CASES IN MDL 1456” in            9/27/07,    Boehringer Ingelheim, GalxoSmithKline, Bristol-
                  Chief Processing policy division,                     which Abbott is named or         3/18/08,    Myers Squibb, Baxter, Sandoz. See Exhibit V-1.
                  Branch chief Medicaid Non-                            appeared. See Exhibit V.         3/20/08,
                  Institutional Payment Policy                                                           10/2/08,    Day 2 (9/27/07): Abbott, Dey Inc, Roxane,
                  Branch                                                                                 10/22/08    Boehringer Ingelheim, GalxoSmithKline, Bristol-
                                                                                                                     Myers Squibb, Baxter, Sandoz, Schering-Plough,
                                                                                                                     Schering, Warrick. See Exhibit V-1.

                                                                                                                     Day 3 (3/18/2008): Abbott, BMS, Dey, Mylan,
                                                                                                                     Roxane, Boehringer Ingelheim, Sandoz, Schering,
                                                                                                                     Schering-Plough, Warrick. See Exhibit V-1.

                                                                                                                     30(b)(6) 3/20/2008: Abbott, BMS, Dey, Mylan,
                                                                                                                     Roxane, Boehringer Ingelheim, Sandoz, Schering,
                                                                                                                     Schering-Plough, Warrick. See Exhibit V-1.




Richter, Elizabeth Acting Director, Center for    MDL Abbott Case       Cross-Notice relates to “U.S.    12/7/2007   Abbott, Dey Inc., Dey L.P., Roxane, Boehringer
                   Medicare Management , CMD;                           ex rel. Ven-A-Care of the                    Ingelheim, Schering-Plough, Schering, Warrick.
                   Hospital and Ambulatory Policy                       Florida Keys, Inc. v.                        See Exhibit W-1.
                   Group, CMS; Health Plans and                         Boehringer Ingelheim
                   Providers, CMS
                                                                        Corporation et al. , MDL
                                                                        1456 (“MDL Roxane
                                                                        Case”). See Exhibit W.
Robey, Vickie     Records Management, Center of MDL Abbott Case. See Not found on Lexis/Nexis.           3/20/2007   Abbott, Astrazeneca, Dey, Roxane, Boehringer-
30(b)(6           Medicare and Medicaid Services Exhibit X.          Appearances by multiple                         Ingelheim, Schering, Warrick, Baxter. See Exhibit
                                                                     defendants in NY Counties’                      X.
                                                                     case, including at least one
                                                                     generic manufacturer
                                                                     defendant.



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                                               Depositions of Federal Witnesses (CMS/HCFA/OIG) in
                                           In re Pharmaceutical Wholesale Pricing Litigation, MDL 1456

Witness Name         Federal Agency and                Noticed           Cross Noticed or           Deposition              Defendant Appearances
                     Title/Responsibility                              Appearances Beyond             Dates
                                                                        Underlying Action
Sernyak, Amy     OIG, Department of Health and MDL Abbott Case       Cross-Notice relates to “ALL    3/6/2007    Abbott, Dey, Sandoz, Roxane, Boehringer
                 Human Services – Team Leader                        ACTIONS” in which                           Ingelheim, Schering, Warrick, BMS, Amgen, Baxter.
                 and Program Analyst (1995 - )                       Schering, Schering Plough or                See Exhibit Y-1.
                                                                     Warrick have been named,
                                                                     appeared or served. See
                                                                     Exhibit Y.
Sexton, Gayle    Health Insurance Specialist    MDL New York         N/A                             5/20/2008   Abbot, Dey, Mylan, Ethex, Merck, Par, Boehringer
                 w/CMS at Headquarters in       Counties Case. See                                               Ingelheim, Roxane, Pharmacia, Pfizer, Sandoz,
                 Baltimore                      Exhibit Z                                                        Schering, Schering-Plough, Warrick, Teva, Ivax,
                                                                                                                 Sicor. See Exhibit Z.
Scully, Thomas   CEO Federation of American     MDL Abbott Case      Cross-Notice relates to “ALL    5/15/07,    Day 1 (5/15/07): Abbott, Dey, Mylan, Roxane,
                 Hospitals; Administrator of                         ACTIONS” in which               7/13/07     Boehringer Ingelheim, Bristol-Myers Squibb,
                 HCFA                                                Schering, Schering Plough or                Johnson & Johnson, Par, Teva, Ivax Corporation,
                                                                     Warrick have been named,                    Warrick, Schering, Schering-Plough, Merck,
                                                                     appeared or served. See                     Aventis, Sanofi-Synthelabo, AstraZeneca, Amgen,
                                                                     Exhibit H.                                  GlaxoSmithKline. See Exhibit H-4.

                                                                                                                 Day 2 (7/13/2007): Schering, Schering-Plough,
                                                                                                                 Warrick, Abbott, Sandoz, Johnson & Johnson,
                                                                                                                 Amgen, Dey LP, Dey Inc, Mylan, Roxane,
                                                                                                                 Boehringer Ingelheim, Teva, Ivax, TAP, BMS,
                                                                                                                 Merck, AstraZeneca. See Exhibit H-4.



Smith, Dennis    Director, Center for Medicaid    MDL Abbott Case    Cross-Notice relates to “ALL    2/26/08,    Day 1 (2/26/08): Abbott, Dey, Mylan, Roxane,
                 and State Operations, CMS (2001-                    CASES IN MDL 1456” in           3/27/08     Boehringer Ingelheim, Endo, Schering, Schering-
                 2007)                                               which Abbott is named or                    Plough, Warrick, Sandoz, Bristol-Myers Squibb.
                                                                     appeared. See Exhibit AA.                   See Exhibit AA-1.

                                                                                                                 Day 2 (3/27/08): same as previous day. See Exhibit
                                                                                                                 AA-1.




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                                                Depositions of Federal Witnesses (CMS/HCFA/OIG) in
                                            In re Pharmaceutical Wholesale Pricing Litigation, MDL 1456

Witness Name           Federal Agency and                 Noticed              Cross Noticed or           Deposition              Defendant Appearances
                       Title/Responsibility                                  Appearances Beyond             Dates
                                                                              Underlying Action
Tawes, David       Director Medicare and Medicaid MDL Abbott Case          Cross-Notice relates to “ALL     4/24/07,   Day 1 (4/24/2007): Abbott, Dey, Sandoz, Roxane,
                   Pricing Unit, CMS (2005-2007);                          ACTIONS” in which                4/25/07    Boehringer Ingelheim, Schering-Plough, Schering,
                   Office of Evaluations and                               Schering, Schering Plough or                Warrick, Barr, Baxter, AstraZeneca, BMS. See
                   Inspections, OIG, US Dept of                            Warrick have been named,                    Exhibit H-5.
                   Health – Program Analyst (1997-                         appeared or served. See
                   2004)                                                   Exhibit H.                                  Day 2 (4/25/2007): same as previous day. See
                                                                                                                       Exhibit H-5.

Thompson, Don      Senior Technical Advisor,        MDL Abbott Case        Cross-Notice relates to “ALL     3/27/08,   Day 1 (3/27/08): Abbott, Dey, Mylan, Boehringer
                   Hospital and ambulatory Policy                          CASES IN MDL 1456” in            3/28/08    Ingelheim, Roxane, Sandoz, Ethex, Schering,
                   Group, CMS                                              which Abbott is named or                    Schering-Plough, Warrick. See Exhibit BB-1.
                                                                           appeared. See Exhibit BB.

Timus, Sr. David   Paralegal at CMS                 MDL Abbott Case. See   Not found on Lexis/Nexis.       6/6/2007    Abbott, Dey, Mylan, Roxane, Boehringer-Ingelheim,
M.                                                  Exhibit CC.            Appearances by multiple                     Baxter. See Exhibit CC-1.
                                                                           defendants in NY Counties’
                                                                           case, including at least one
                                                                           generic manufacturer
                                                                           defendant.
Vladeck, Bruce     Administrator of HCFA            MDL Abbott Case        Cross-Notice relates to “ALL 5/4/07, 6/21/07 ( 5/4/07): Abbott, Roxane, Dey, Mylan, Schering
                                                                           ACTIONS” in which                            and Schering-Plough, Warrick. Sandoz, Novartis,
                                                                           Schering, Schering Plough or                 Bristol-Myers Squibb, Aventis, Amgen,
                                                                           Warrick have been named,                     AstraZeneca, Baxter, Merck. See Exhibit H-6.
                                                                           appeared or served. See
                                                                           Exhibit H.




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                                             Depositions of Federal Witnesses (CMS/HCFA/OIG) in
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Witness Name       Federal Agency and                 Noticed         Cross Noticed or           Deposition              Defendant Appearances
                   Title/Responsibility                             Appearances Beyond             Dates
                                                                     Underlying Action
Vito, Robert   Office of Evaluations and        MDL Abbott Case   Cross-Notice relates to “ALL     6/19/07,   Day 1(6/19/07): Abbott, Roxane, Boehringer
               Inspections, OIG, US Dept of                       ACTIONS” in which                6/20/07    Ingelheim, B. Braun Medical Incorporated, Warrick,
               Health - Regional Inspector                        Schering, Schering Plough or                Schering, Schering-Plough, Barr, Duramed, Dey,
               General, Region III (1995-),                       Warrick have been named,                    Bristol-Myers Squibb, Sandoz, Novartis, Baxter,
               Acting Regional Inspector                          appeared or served. See                     Amgen. See Exhibit DD-1.
               General (1994-1995), Deputy                        Exhibit DD.
               Regional Inspector General                                                                     Day 2 (6/20/2007): Abbott, Dey, Roxane,
               (1991-1994); Office of Audit                                                                   Boehringer Ingelheim, B Braun, Schering-Plough,
               Services, OIG - Auditor (focus                                                                 Schering, Warrick. See Exhibit DD-1.
               on Medicare and Medicaid
               programs), (1978-1990).
TOTAL = 31
Witnesses                                                                                        TOTAL = 50




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